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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Henry Rojas,                                      No. CV-21-00220-PHX-SMB
10                  Plaintiff,                         ORDER
11   v.
12   VMS Data LLC, et al.,
13                  Defendants.
14
15          The Court has been advised that this case has settled. (Doc. 18)
16          IT IS ORDERED:

17          1.     This matter will, without further Order of this Court, be dismissed with
18   prejudice within 45 days of the date of this order unless a stipulation to dismiss is filed

19   prior to the dismissal date.

20          2.     All pending hearings and deadlines are vacated.
21          3.     All pending motions are found to be moot.
22          4.     The Clerk is directed to terminate this matter on September 10, 2021

23   without further leave of Court.

24          Dated this 28th day of July, 2021.

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